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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AMENTUM ENVIRONMENT & ENERGY,
 INC.,

                        Plaintiff,
                                                   Case No. 20-2016 C
                v.
                                                   Judge Silfen
 THE UNITED STATES OF AMERICA,

                        Defendant.


             JOINT STATUS REPORT REGARDING STATUS OF DISCOVERY

       The parties, plaintiff Amentum Environment & Energy, Inc., formerly known as URS

Energy & Construction, Inc. (“URS”), and defendant the United States of America (the

“Government”), have been conducting discovery under a scheduling order that requires them to

jointly submit a status report every 30 days updating the court on the progress of discovery. ECF

No. 50. The Court’s Revised Discovery Scheduling Order entered on the docket on March 20,

2025, requires the filing of a “Joint status report updating court on first settlement conference”

by June 13, 2025. The parties therefore respectfully submit this joint status report updating the

Court on both the progress of discovery and settlement conference.

       Since the parties’ last status report, the parties conducted two additional depositions: the

deposition of a fact witness for the government took place on May 29, 2025, and the Rule

30(b)(6) deposition of a government witness on topics related to Naval Reactors took place on

June 9, 2025. The parties are continuing to work to schedule the deposition of one fact witness

for URS, which has been unavoidably delayed due to witness health issues outside of the parties’

control. With the exception of that deposition, the parties have concluded fact discovery and

continue to proceed on the schedule reflected in the Court’s March 20, 2025, Order.
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       The parties have recently participated in discussions concerning potential settlement

negotiations, but do not have further updates to report at this time.


Respectfully submitted,
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 Dated: June 13, 2025                         U.S. Department of Energy
